Case 09-02333-RTL   Doc 66-2 Filed 11/23/11 Entered 11/23/11 20:36:47   Desc
                            Exhibit 2 Page 1 of 1




                                            November 23, 2011

  Robert Wisniewski, PC
  225 Broadway-Suite 1020
  New York, NY 10007

  Attention:      Michael Taubenfeld, Esq.

            Re:     Triestman ads Mazur et als

  Dear Mr. Taubenfeld:

  Please accept this letter as a formal demand for you to
  withdraw the two Subpoenas which you served.

  The first which you served upon Mr. Orr and the second which
  was left on my receptionist’s desk for Mr. Triestman, who has
  not been in my office for several weeks.

  This demand is made based upon the unjustified delay in your
  serving the Subpoenas and in your failure to allow a
  reasonable time to comply and creating an undue burden upon
  the persons against whom the Subpoenas were served (it was
  never served upon Mr. Triestman).

  Please also be advised that Mr. Orr, were he to be compelled
  to attend court, will be losing $300 per hour and will
  require being reimbursed by your firm on the date of his
  appearance.

  Please be guided accordingly, as we shall be seeking
  sanctions with regard to the Subpoenas.



                                      Very truly yours,

                               /s/Robert M. Rich
  RMR:cr                       ROBERT M. RICH
  CC: Catherine Youngman, Esq.
